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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                SOUTHWESTERN DIVISION

United States of America,           )
                                    )
              Plaintiff,            )     ORDER GRANTING GOVERNMENT’S
                                    )     MOTION FOR RULE 44(c) INQUIRY
       vs.                          )     REGARDING JOINT
                                    )     REPRESENTATION
Michael L. Fisher, and              )
Fisher Sand and Gravel Co., Inc.,   )     Case No. 1:08-cr-026
                                    )
              Defendants.           )
______________________________________________________________________________

       Before the Court is the Government’s “Motion for Rule 44(c) Inquiry Regarding Joint

Representation,” filed on May 30, 2008. See Docket No. 20. The Government requests that the Court

conduct an inquiry of defendants, Michael L. Fisher and Fisher Sand & Gravel, Co., Inc., (FSG)

pursuant to Federal Rule of Criminal Procedure 44(c)(2) with respect to the joint representation of

those co-defendants by defense counsel, Jon Jensen. The Government contends that Mr. Jensen’s dual

representation of the co-defendants in this criminal conspiracy case creates a significant risk of an

actual conflict of interest arising during the proceedings.

       Rule 44(c)(2) of the Federal Rules of Criminal Procedure provides that “[t]he court must

promptly inquire about the propriety of joint representation and must personally advise each defendant

of the right to the effective assistance of counsel, including separate representation. Unless there is

good cause to believe that no conflict of interest is likely to arise, the court must take appropriate

measures to protect each defendant’s right to counsel.” The Government suggests that Thomas Fisher,

the president and majority shareholder of FSG, would be an appropriate officer to appear on behalf

of FSG at the hearing.

       The Court has reviewed the Government’s motion and memorandum in support and GRANTS
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the Government’s motion for Rule 44(c) inquiry regarding joint representation (Docket No. 20). The

Court ORDERS that the defendant Michael L. Fisher and Thomas Fisher, or some other disinterested

officer of defendant Fisher Sand & Gravel, Co., Inc., shall appear in Courtroom One of the U.S.

District Court for the District of North Dakota on Tuesday, July 8, 2008, at 1:30 p.m. for an inquiry

into the propriety of joint representation of the defendants under Rule 44(c)(2) of the Federal Rules

of Criminal Procedure.1

       IT IS SO ORDERED.

       Dated this 6th day of June, 2008.

                                                     /s/ Daniel L. Hovland
                                                     Daniel L. Hovland, Chief Judge
                                                     United States District Court




         1
            If separate counsel is retained by Michael Fischer or Fisher Sand & Gravel Co., Inc., before the scheduled
date of the hearing, the parties are requested to contact the Clerk of the District Court and chambers.

                                                          2
